      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 1 of 20



                                       SETTLEMENT AGREEMENT

                 THIS SETTLEMENT AGREEMENT the (“Settlement Agreement”) is made

         this 23rd day of April, 2020 by and among (i) Juan José Peraza Mora, his wife Gloria

         Batista Molina, and the conjugal partnership constituted by them (hereinafter, the

         “Debtors”); and (iii) Triangle Cayman Asset Company (“Triangle” or “Creditor”,

         collectively with the Debtors, the “Parties”).

                 WHEREAS, On March 6, 2019, the PR District Court for the District of Puerto

         Rico entered Judgment in case captioned 17-01216-CCC in favor of Triangle and against

         the Debtors, in the total amount of $3,184,546.95 including principal, interests, late fees

         and legal expenses among others (as the same may increase pursuant to interest accrual

         considered in the same, the “Judgment”), which is hereby ratified. See Exhibit A.

                 WHEREAS, the Judgment is (i) hereby incorporated by reference as if fully set

         forth herein; (ii) ratified in all of its terms; and (iii) is enforceable upon the entry of an

         order approving this Settlement Agreement.

                 WHEREAS, On April 5, 2019, (the “Petition Date”), the Debtors filed their third

         voluntary petition1 for relief under the provisions of Chapter 12 of the Bankruptcy Code

         (the “Code”) in the U.S. Bankruptcy Court, District of Puerto Rico (the “Court” or the

         “Bankruptcy Court”) captioned as In re: Juan José Peraza Mora and Gloria Batista Molina,

         Bankr. Case No. 19-01896(ESL) (the “Bankruptcy Case”). See Docket. No. 1.

                 WHEREAS, on June 13, 2019, Triangle filed Proof of Claim 7 in the total amount

         of $3,408,971.11, including the secured portion of $2,388,784.00 and an unsecured portion

         in the amount of $1,020,187.00 (“Triangle’s Claim”). See Proof of Claim No. 7.




         1
          On February 20, 2013, the Debtors filed their first Chapter 12 bankruptcy petition. See Case No.
         13-01249(ESL). On February 26, 2014, the Debtors filed their second petition for relief under the
         provisions of Chapter 12 of the Bankruptcy Code. See Case No. 14-01392(ESL).


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 2 of 20



                 WHEREAS, the Parties have agreed to the enter into this Settlement Agreement,

         which shall provide for the treatment of Triangle’s Claim under the Chapter 12 of

         Reorganization to be proposed for confirmation under the Bankruptcy Case.

                 WHEREAS, the Parties have agreed to settle Triangle’s Claim for an amount equal

         to $1,100,000.00 (the “Discounted Payoff Amount”) which shall be payable by the Debtors

         to Triangle as hereinafter set forth.

                 WHEREAS, the Parties have further agreed that should the Debtors fail to comply

         with the terms and conditions set forth in this Settlement Agreement, Triangle shall

         foreclose on the Judgment at will;

                 NOW, THEREFORE, in consideration of the mutual covenants and agreements

         herein contained and for other good and valuable consideration, the receipt and sufficiency

         of which are hereby acknowledged, the Parties hereto agree as follows:

            I.        The Loan and Collateral

                 1.      On December 11, 2007, the Debtors executed a loan agreement (“Loan

         Agreement I”) with Eurobank in the amount of $610,000.00. Loan Agreement I was

         authenticated under affidavit number 11,358 before Notary Public Ismael Perez Nieves.

         This loan is further evidenced by a promissory note in the amount of $610,000.00 issued

         by Debtors, payable to Eurobank, or to its order, authenticated by affidavit number 11,353

         of Notary Public Ismael Perez Nieves, duly endorsed to Triangle (“Promissory Note I”).

                 2.      On March 15, 2010, the Debtors executed another loan agreement with

         Eurobank (hereinafter, “Loan Agreement II”, and together with Loan Agreement I, the

         “Loan Agreements”), in the amount of $2,283,000.00. Loan Agreement II is further

         evidenced by a promissory note in the amount of $2,283,000.00 issued by Debtors, payable

         to Eurobank, or to its order, authenticated by affidavit number 28,639 of Notary Public


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 3 of 20



         Ismael Perez Nieves, duly endorsed to Triangle (hereinafter, “Promissory Note II” and

         together with Promissory Note I, the “Promissory Notes”).

                 3.      To guarantee and secure their obligations under the Loan Agreements and

         the Promissory Notes, the Debtors executed certain loan and collateral documents

         including the following: (i) mortgage notes; (ii) mortgage deeds; (iii) security agreements

         (iv) pledge agreements; and, (v) assignment of receivables, among others (hereinafter

         collectively, the “Loan Documents”).

                 4.      Pursuant to the provisions of the Loan Documents, Triangle maintains a first

         priority security interest over certain milk quota and real estate properties, which are

         detailed as follows:

                         a) Milk Quota Collateral

                                 i. 66,232 liters of the milk quota registered under ORIL license

                                     No. 3052 (the “Milk Quota”)2;

                         b) Mortgages over the Following Real Estate Properties

                                 i. Property No. 4,782, recorded at page 13 of volume 109 of Hatillo,

                                     Registry of the Property of Puerto Rico, Section II of Arecibo,

                                     (“Property No. 4,782”) which is described in the original Spanish

                                     language as follows:

                                         RUSTICA: Radicada en el Barrio Corcobadas de Hatillo,
                                         Puerto Rico, con una cabida superficial de ciento cincuenta
                                         y siete mil quinientos ochenta y siete punto seis mil
                                         seiscientos setenta y tres (157,587.6673) metros cuadrados.
                                         En lindes al NORTE, con remanente de la finca; por el SUR,
                                         con Federico Ruiz y Jerónimo Valentín; por el ESTE, con
                                         solares segregados uno (1), dos (2), tres (3) y cuatro (4); y


         2
          According to the Milk Quota Certification issued by ORIL, Debtors are duly authorized in the
         milk production industry under license No. 3052, to produce 75,944 milk quarts every 14 days. The
         ORIL Certification also reveals that 66,232 quarts are encumbered in favor of Triangle.


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 4 of 20



                                         por el OESTE, con Alberto Pérez, Tomás García Casanova
                                         y Francisco Ruiz. Contiene una casa de concreto.

                             ii. Property No. 4,229, recorded at page 100 of volume 86 of Hatillo,

                                 Registry of the Property of Puerto Rico, Section II of Arecibo,

                                 (“Property No. 4,229”) which is described in the original Spanish

                                 language as follows:

                                         RUSTICA: Radicada en el Barrio Carrizales de Hatillo,
                                         Puerto Rico, compuesta de catorce (14.00) cuerdas,
                                         equivalentes a cinco hectáreas, ciento cincuenta 150 áreas y
                                         veinte centiáreas. En lindes al NORTE, con Carmelo
                                         Antonio García González; por el SUR, con Luis Jaime
                                         García González; por el ESTE, con Alejandro Plasencia; y
                                         por el OESTE, con un camino vecinal y al otro lado con
                                         Salomón Hawayek.

                  5.      Property No. 4,782 and Property No. 4,229 described above, are hereinafter

         collectively referred to as the “Real Estate Properties”, and together with the Milk Quota,

         the “Collateral”.

            II.        The Settlement Agreement

                  6.      After lengthy and considerable negotiations, the Debtors have agreed to the

         following terms and conditions, which shall serve as treatment of Triangle’s Claim in the

         Chapter 12 Plan of Reorganization.

                  7.      Debtors hereby: (i) consent to the Settlement Agreement contemplated

         herein and acknowledge, reaffirm, and ratify all security interests granted and liens

         constituted pursuant to the Loan Documents as security for the payment and performance

         of all of Debtors’ obligations under the Loan Documents and their priority rank; (ii)

         acknowledge and agree that the guarantees (and all security therefore), contained in the

         Loan Documents are, and shall continue to remain, in full force and effect after giving




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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 5 of 20



         effect to this Settlement Agreement; (iii) ratify the Loan Agreements, the Loan Documents,

         and the Collateral; and (iv) ratify the Judgment.

                  8.    The Debtors recognize the validity and enforceability of Triangle’s first

         rank lien over the Milk Quota. The Debtors further recognize the validity and enforceability

         of Triangle’s security interests and liens over the Real Estate Properties as further described

         below:

                             i. Property No. 4,782 is encumbered by a mortgage in the principal
                                amount of $716,000 which secures a Mortgage Note in the same
                                amount, payable to Eurobank, or to its order, bearing interest at
                                8.25%, authenticated under affidavit No. 19,025 of Notary Public
                                Juan E. Nieves Mora (“Mortgage Note I”).

                                The referenced mortgage lien was constituted pursuant to the terms
                                of Deed of Mortgage Number 301 (hereinafter, the “Deed of
                                Mortgage I”) executed on November 8, 1996 before Notary Public
                                Juan E. Nieves Mora. According to Deed of Mortgage I, Property
                                No. 4,782 is liable for $580,000. Deed of Mortgage I is recorded
                                over Property 4,782 at page 224 of volume 163 of Hatillo, 19th
                                inscription.
                            ii. Property No. 4,782 is encumbered by a mortgage in the principal
                                amount of $194,000 which secures a Mortgage Note in the same
                                amount, payable to Eurobank, or to its order, bearing interest at the
                                Prime Rate per annum, authenticated under affidavit No. 20,174 of
                                Notary Public Jose L. Landrón Ramery (“Mortgage Note II”).

                                The referenced mortgage lien was constituted pursuant to the terms
                                of Deed of Mortgage Number 51 (hereinafter, the “Deed of
                                Mortgage II”) executed on May 6, 1996 before Notary Public Jose
                                L. Landrón Ramery. Deed of Mortgage II is recorded over Property
                                4,782 at page 115 of volume 315 of Hatillo, 20th inscription.

                           iii. Property No. 4,782 is encumbered by a mortgage in the principal
                                amount of $300,000 which secures a Mortgage Note in the same
                                amount, payable to Eurobank, or to its order, bearing interest at the
                                Prime Rate per annum, authenticated under affidavit No. 4,244 of
                                Notary Public Ismael Pérez Nieves (“Mortgage Note III”).

                                The referenced mortgage lien was constituted pursuant to the terms
                                of Deed of Mortgage Number 78 (hereinafter, the “Deed of


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 6 of 20



                                  Mortgage III”) executed on August 28, 2002 before Notary Public
                                  Ismael Pérez Nieves. According to Deed of Mortgage III, Property
                                  No. 4,782 is liable for $200,000. Deed of Mortgage III is recorded
                                  over Property 4,782 at page 115 of volume 315 of Hatillo, 21st
                                  inscription.

                             iv. Property No. 4,782 is encumbered by a mortgage in the principal
                                 amount of $169,000 which secures a Mortgage Note in the same
                                 amount, payable to Eurobank, or to its order, bearing interest at the
                                 Prime Rate per annum, authenticated under affidavit No. 6,823 of
                                 Notary Public Ismael Pérez Nieves (“Mortgage Note IV”).

                                  The referenced mortgage lien was constituted pursuant to the terms
                                  of Deed of Mortgage Number 105 (hereinafter, the “Deed of
                                  Mortgage IV”) executed on September 23, 2004 before Notary
                                  Public Ismael Pérez Nieves. According to Deed of Mortgage IV,
                                  Property No. 4,782 is liable for $119,000. Deed of Mortgage IV is
                                  recorded over Property 4,782, Daily Book 296, entry 7573.

                              v. Property No. 4,782 is encumbered by a mortgage in the principal
                                 amount of $149,000 which secures a Mortgage Note in the same
                                 amount, payable to Eurobank, or to its order, bearing interest at 12%
                                 per annum, authenticated under affidavit No. 28,640 of Notary
                                 Public Nelson Gonzalez Rosario (“Mortgage Note V”).

                                  The referenced mortgage lien was constituted pursuant to the terms
                                  of Deed of Mortgage Number 11 (hereinafter, the “Deed of
                                  Mortgage V”) executed on March 15, 2010 before Notary Public
                                  Nelson Gonzalez Rosario. Deed of Mortgage V is recorded over
                                  Property 4,782, Daily Book 315, entry 4014.

                             vi. Property No. 4,229 is encumbered by the mortgage constituted
                                 pursuant to Deed of Mortgage I. According to Deed of Mortgage I,
                                 Property No. 4,229 is liable for $136,000. Deed of Mortgage I is
                                 recorded over Property 4,229 at page 263 of volume 175 of Hatillo,
                                 17th inscription.

                             vii. Property No. 4,229 is encumbered by a mortgage in the principal
                                  amount of $66,000 which secures a Mortgage Note in the same
                                  amount, payable to Eurobank, or to its order, bearing interest at the
                                  Prime Rate, authenticated under affidavit No. 20,175 of Notary
                                  Public José L. Landrón Ramery (“Mortgage Note VI”).



         3
             Recorded pursuant to Act No. 216-2010, 2010 P.R. Law 216.
         4
             Recorded pursuant to Act No. 216-2010, 2010 P.R. Law 216.


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 7 of 20



                                  The referenced mortgage lien was constituted pursuant to the terms
                                  of Deed of Mortgage Number 52 (hereinafter, the “Deed of
                                  Mortgage VI”) executed on May 6, 1999 before Notary Public José
                                  L. Landrón Ramery. Deed of Mortgage VI is recorded over Property
                                  4,229 at page 264 of volume 175 of Hatillo, 18th inscription.

                            viii. Property No. 4,229 is encumbered by the mortgage constituted
                                  pursuant to Deed of Mortgage III. According to Deed of Mortgage
                                  III, Property No. 4,229 is liable for $100,000. Deed of Mortgage III
                                  is recorded over Property 4,229 at page 26 of volume 391 of Hatillo,
                                  19th inscription.

                             ix. Property No. 4,229 is encumbered by the mortgage constituted
                                 pursuant to Deed of Mortgage IV. According to Deed of Mortgage
                                 IV, Property No. 4,229 is liable for $50,000. Deed of Mortgage IV
                                 is recorded over Property 4,229, Daily Book 296, entry 7575.

                   9.     The Debtors further recognize and stipulate the validity and enforceability

         of Triangle’s Claim, which is described above and filed in the Bankruptcy Case as Proof

         of Claim No. 7. See Proof of Claim No. 7.

                   10.    Pursuant to this Settlement Agreement, the Parties have agreed to settle

         Triangle’s Claim by Debtors’ payment to Triangle of the Discounted Payoff Amount,

         which payment shall be made based on the following terms and conditions agreed between

         the Parties:

                          a) Milk Quota – For a period of twenty four (24) months from the

                              Effective Date of the Plan (the “Expiration Date”), the Debtors will

                              market and sell, at their cost, the 66,232 quarts of the Milk Quota at a

                              price of no less than $11 per quart or any other amount that may be

                              agreed to in writing by the Parties. The sale of the Milk Quota shall be

                              made free and clear of liens under Section 363 of the Bankruptcy Code.

                              The Debtors further agree that any and all of the proceeds from the sale


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             Recorded pursuant to Act No. 216-2010, 2010 P.R. Law 216.


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      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 8 of 20



                        of the Milk Quota will be paid by the Debtors to Triangle (the “Milk

                        Quota Proceeds”). If the Debtors fail to sell the Milk Quota by the

                        Expiration Date, the Debtors herein agree that Triangle shall be entitled

                        to foreclose on the Judgment and its Collateral at will. Debtors represent

                        that they are the rightful owners of the Milk Quota (as fully described

                        herein) and, furthermore, represent that there are no impediments for

                        Triangle to proceed with the foreclosure of the Judgment and the

                        Collateral.

                     b) Real Estate Properties – The Debtors will market and sell, at their cost,

                        the Real Estate Properties prior to the Expiration Date. The sale of the

                        Real Estate Properties shall be free and clear of liens under Section 363

                        of the Bankruptcy Code and the sales price for each of the Real Estate

                        Properties shall be reasonably pre-approved by Triangle. The Debtors

                        further agree that any and all of the proceeds from the sale of the Real

                        Estate Properties will be paid by the Debtors to Triangle (the “Real

                        Estate Proceeds”). If the Debtors fail to sell the Real Estate Properties

                        by the Expiration Date, the Debtors herein agree that Triangle shall be

                        entitled to foreclose on the Judgment and its Collateral at will. Debtors

                        represent that they are the rightful owners of the Real Estate Properties

                        (as fully described herein) and, furthermore, represent that there are no

                        impediments for Triangle to proceed with the foreclosure of the

                        Judgment and the Collateral.




                                                                                                8
      Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 9 of 20



                     c) Payments – In addition to marketing for sale the Milk Quota and the

                        Real Estate Properties (as well as delivering to Triangle the

                        corresponding Milk Quota Proceeds and Real Estate Proceeds), the

                        Debtors further agree that they will pay the DPO Amount to Triangle as

                        follows:

                           (i) Debtors will make bi-weekly payments in the amount of four

                               thousand ($4,000.00) (the “Bi-weekly Payments”) which shall

                               be made directly by the milk processing plant to Triangle (the

                               “Bi-weekly Payments”). These payments shall commence on the

                               Effective Date of the Plan and shall continue up to the Expiration

                               Date.

                           (ii) The Parties further agree that at the 25th month from the

                               Effective Date of the Plan (that is, 30 days from the Expiration

                               Date), the Debtors shall pay Triangle the amount of $892,000.00

                               (the “Balloon Payment”), which proceeds will come from the

                               sale of any of Debtors’ assets, including the Milk Quota, the

                               Real Estate Properties, the herd and dairy farm equipment,

                               among others.

                               The Parties hereto specifically agree and acknowledge that the

                               delivery by the Debtors to Triangle of any Milk Quota Proceeds

                               or Real Estate Proceeds shall not excuse the Debtors from

                               making the Bi-weekly Payments.




                                                                                               9
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 10 of 20



                                    Notwithstanding, Triangle concedes that if the Debtors comply

                                    with all of the Bi-weekly Payments during the first twelve (12)

                                    months form the Effective Date of the Plan, and provided that

                                    by such date, the Debtors were able to sell at least fifty percent

                                    (50%) of the Milk Quota (and delivered the corresponding Milk

                                    Quota Proceeds to Triangle), then the face amount of the Bi-

                                    weekly Payments will be reduced to two-thousand dollars

                                    ($2,000.00) up to the Expiration Date (with no modification to

                                    the Balloon Payment).

                                    The Parties further agree that Debtors shall be entitled to pay off

                                    the DPO Amount in full to Triangle, prior to the Expiration Date,

                                    provided that Debtors are able to sell the Milk Quota and the

                                    Real Estate Properties, or any other assets they may have, and

                                    deliver the proceeds thereof to Triangle before such Expiration

                                    Date.

                10.     Based on the above considerations, and during the term of this Settlement

         Agreement, Triangle agrees not to seek foreclosure of the Judgment or its Collateral until

         such time as the Debtors fail to make any of the Bi-Weekly Payments, sell the Milk Quota

         or Real Estate Properties as specified and within the time specified in ¶ 9(c), supra, or upon

         the occurrence of an Event of Default (as more particularly defined below).

                11.     Pursuant to this Settlement Agreement, the Debtors represent and submit

         that there are no occupants in the Real Estate Properties and no third party has any claim

         to the Real Estate Properties. Moreover, Debtors herein agree that if a controversy should




                                                                                                    10
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 11 of 20



         arise related to the use, occupancy or ownership of the Real Estate Properties, the Debtors

         will defend, hold harmless and indemnify Triangle from any claim that is filed against

         Triangle and/or any of its affiliates or related entities, by any person or entity claiming to

         have a right to possession, title and/or enjoyment of the Real Estate Properties or any

         portion thereof.

                12.     The Debtors agree to fully cooperate with Triangle at all times and to deliver

         to Triangle any information and/or documentation it has available within its records, if any,

         related to the Real Estate Properties, which may serve Triangle, including but not limited

         to title abstracts, property tax certifications, appraisals and environmental reports. The

         Parties agree that after the expiration of the twenty-four (24) month period for Debtors to

         sell the Milk Quota or the Real Estate Properties or upon the occurrence of an Event of

         Default, Triangle, or its assignee, will be allowed, but not required, to foreclose on the Milk

         Quota or the Real Estate Properties without providing additional notice to the Debtors.

                13.     Debtors and Triangle agree that nothing herein shall obligate or bind

         Triangle, or its assignee, to pursue the execution of Judgment and/or take title of the Milk

         Quota and/or the Real Estate Properties. Moreover, neither a failure nor a delay on the part

         of the Creditor to exercise any right, power, or privilege hereunder or under any of the

         Loan Documents shall operate as a waiver thereof, nor shall any single or partial exercise

         of any right, power or privilege hereunder or under any of the Loan Documents preclude

         any other or further exercise thereof or the exercise of any other right, power, or privilege.

         No notice to or demand upon any Debtors shall be deemed to be a waiver of the obligations

         of any of the Debtors or of the right of the Creditor to take further action without notice or

         demand.




                                                                                                     11
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 12 of 20



                14.      Any of the following events (each, an “Event of Default”) (and whether

         such occurrence is voluntary of involuntary or comes about or is affected by operation of

         law or otherwise) is an Event of Default:

                      a) If any representation, warranty or other written statement made by Debtors
                         or by an authorized representative of Debtors to Triangle with regards to the
                         initiation, negotiation, discussion, and/or obtention of this Settlement
                         Agreement proves to have been false or misleading in any material respect
                         when made; or

                      b) If Debtors shall breach any covenant or obligation contained in the
                         Settlement Agreement or fail to comply with or fail to perform any of the
                         terms, conditions or covenants or its obligations set forth in the Settlement
                         Agreement; including but not limited to the failure to provide the Bi-weekly
                         Payments to Triangle or failure to sell the Milk Quota or Real Estate
                         Properties within the time prescribed; or

                      c) If Debtors shall challenge in any form, way, manner, or action the validity
                         or enforceability of any of the Loan Documents, the enforceability of the
                         obligations thereunder, or the perfection or priority of any lien granted to
                         Triangle, or if any of the Loan Documents ceases to be in full force or effect;
                         or

                      d) The confirmation or amendment of any plan of reorganization, inconsistent
                         with the terms and conditions of this Settlement Agreement; or the entry of
                         an order providing relief from the automatic stay, imposed pursuant to
                         Section 362 of the Bankruptcy Code, allowing any creditor, other than
                         Triangle, to realize upon, or to exercise any right or remedy with respect to
                         any asset for which Debtors have granted Triangle a security interest and/or
                         lien; or

                      e) Any act from the Debtors that is inconsistent with the terms and conditions
                         agreed pursuant to this Settlement Agreement, including but not limited to
                         any of Debtors’ acts to directly or indirectly obstructs, delays, objects or
                         impedes, for whatever reason, the sale of the Milk Quota and/or the Real
                         Estate Properties, or the corresponding delivery to Triangle of the Milk
                         Quota Proceeds or the Real Estate Proceeds.

                      f) Debtors’ interference, in any way, with the Creditor’s exercise of remedies
                         hereunder, including but not limited to the foreclosure of the Judgment
                         following a failure by the Debtors to comply with the sale of the Collateral
                         pursuant to the terms and conditions agreed in this Settlement Agreement.

                16.      Upon the occurrence of any Event of Default, as provided above, all of the



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       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 13 of 20



         Loan Documents, collateral and Debtors’ obligations with Triangle shall revert to their

         original, pre-petition state, and their indebtedness shall become immediately due and

         payable without further notice by Triangle, and the Judgment shall become fully executable

         in all of its terms. The Debtors hereby waive any right to seek reconsideration, appeal or

         to move to set aside the Judgment.

                17.     Further, it is hereby understood and agreed by each of the Parties hereto,

         that this agreement is not intended to constitute an extinctive novation (novación extintiva)

         of the obligations and undertakings of the Parties under any of the Loan Documents

         regarding such loans, as amended to date. No waiver, modification or amendments of any

         of the provisions of this Settlement Agreement shall be effective unless set forth in writing

         and signed by Triangle and Debtors and approved by this Bankruptcy Court.

                18.     This Settlement Agreement is subject to the final approval of the

         Bankruptcy Court in the Bankruptcy Case. Furthermore, the terms of the Settlement

         Agreement are to be incorporated to the Plan through the filing of an amended Chapter 12

         Plan of Reorganization. Moreover, in the event that this Settlement Agreement is not

         approved and/or upon an Event of Default, Triangle shall have the right to seek any relief

         it deems necessary and appropriate before this Court. Triangle herein is not waiving any

         rights it may have in the event that this Settlement Agreement is not approved.

                19.     The Debtors herein agree that the automatic stay shall terminate

         immediately as to the Debtors and as to Debtors’ estate on the earlier of: (i) the entry of an

         Order approving this Settlement Agreement; (ii) the confirmation of the Chapter 12 Plan

         of Reorganization; or (iii) the occurrence of an Event of Default, thereby allowing the

         Judgment to become final and unappealable. Notwithstanding anything to the contrary




                                                                                                    13
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 14 of 20



         contained in this Settlement Agreement, the Debtors expressly agree that upon an Event of

         Default, Triangle shall be immediately allowed to foreclose on the Judgment.

                20.     Effective upon the execution of this Settlement Agreement, each of the

         Debtors, on behalf of themselves and on behalf of, and intending to legally bind their

         respective successors, heirs and assigns (collectively the “Releasing Loan Debtors”)

         irrevocably and unconditionally release and forever discharge the Creditor, Capital

         Crossing Puerto Rico, LLC, and all of their subsidiaries, parents and affiliates, and each of

         their respective employees, agents, representatives, consultants, attorneys, fiduciaries,

         servants, officers, directors, partners, servicers, predecessors, successors and assigns, and

         all persons acting by, though, under or in concert with any of the aforesaid persons or

         entities (collectively, the “Creditor Released Parties”), from any and all causes of action,

         judgments, executions, suits, debts, claims, demands, liabilities, obligations, damages and

         expenses of any and every character, known or unknown, direct and/or indirect, at law or

         in equity, of whatsoever kind or nature, whether heretofore or hereafter arising, for or

         because of any act, omission, negligence or breach of duty by any of the Creditor Released

         Parties prior to and including the date of execution hereof, and in any way directly or

         indirectly arising out of or in any way connected to the Loan, this Settlement Agreement

         and/or the Loan Documents, including, without limitation, claims relating to any settlement

         negotiations and any theory of lender liability or the like (collectively, the “Creditor

         Released Matters”)

                21.     In furtherance of the foregoing release, the Releasing Loan Debtors

         covenant and agree never to institute or cause to be instituted, or continue prosecution of,

         or assist, any suit or other action or proceeding of any kind or nature against any of the




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       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 15 of 20



         Creditor Released Parties, by reason of, or in connection with, any of the Creditor Released

         Matters.

                22.     As a material inducement for the Creditor to enter into this Settlement

         Agreement, in recognition of the risks associated with the Creditor’s execution and

         performance of this Settlement Agreement, and in consideration of the recitals and mutual

         covenants contained herein, and for other good and valuable consideration, the receipt and

         sufficiency of which are hereby acknowledged, each of the Debtors hereby agrees to,

         jointly and severally, defend, indemnify, and release from any and all liability each of the

         Creditor Released Parties from any claim, damage, judgment, penalty, fee, expense

         (including the attorney fees, costs and expenses incurred by the Creditor and/or any of the

         Creditor Released Parties in enforcing their respective rights under this Settlement

         Agreement) that arise, directly or indirectly, from any claim against the Creditor based on

         or related to: 11 U.S.C. §§ 544, 545, 546, 547, 548, 549, 550, 553(b), Puerto Rico Civil

         Code Article 1244 et seq., and/or the Loan, this Settlement Agreement, or any of the Loan

         Documents.

                23.     Each of the Debtors hereby expressly, irrevocably, and unconditionally

         renounces and waives all rights that are waivable under Article 9 of the Puerto Rico

         Commercial Transactions Act and under the Puerto Rico Mortgage and Registry of the

         Property Act (collectively, the “UCC”). Without limiting the generality of the foregoing,

         each of the Debtors hereby: (i) expressly and unconditionally renounces any right to receive

         notice of any disposition by the Creditor of the Collateral, whether such disposition is by

         public or private sale under the UCC or otherwise; (ii) expressly, irrevocably, and

         unconditionally waives any rights relating to compulsory disposition of the Collateral; and




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       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 16 of 20



         (iii) expressly, irrevocably, and unconditionally waives any right of redemption. Each of

         the Debtors also hereby acknowledges and agrees that any procedure selected by the

         Creditor to dispose of any Collateral shall constitute a commercially reasonable manner for

         the disposition of such Collateral.

                24.      Each of the Debtors hereby agrees and covenants that none of the Debtors

         shall: (a) fail to perform and/or breach any covenant, representation and/or warranty

         contained in this Settlement Agreement and/or the Loan Documents; (b) sell, transfer or

         convey the Milk Quota or any of the Real Estate Properties without the Creditor’s written

         consent; (c) lease or assign any right or property interests in the Milk Quota or in any of

         the Real Estate Properties without the Creditor’s written consent; (d) allow the creation or

         perfection of any lien or encumbrances on the Milk Quota or any of the Real Estate

         Properties without the Creditor’s written consent; and (e) engage (or allow any entity or

         person to engage) in any acts or conduct that may deteriorate or diminish the value of any

         of the Milk Quota or any of the Real Estate Properties.

                25.      This Settlement Agreement shall be binding upon and inure to the benefit

         of and be enforceable by the Parties thereto, their respective successors and assigns. No

         other person or entity shall be entitled to claim any right or benefit hereunder, including,

         without limitation, the status of a third-party beneficiary of this Settlement Agreement or

         the Loan Documents.

                26.     The Parties herein agree that each Party shall be liable for their own costs

         and expenses associated in the preparation and execution of this Settlement Agreement.

                27.     Nothing in this Settlement Agreement or in any of the Loan Documents,

         expressed or implied, is intended to or shall constitute the Parties hereto as partners or




                                                                                                  16
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 17 of 20



         participants in a joint venture. Further, each of the Debtors hereby acknowledge and

         stipulate that the Creditor is not a: (i) director of any of the Debtors; (ii) officer of any of

         the Debtors; (iii) person in control of any of the Debtors; (iv) partnership in which any of

         the Debtors is a general partner; (v) general partner of any of the Debtors; or (vi) relative

         of a general partner, director, officer, or person in control of any of the Debtors.

                 28.     The appearing parties warrant that the terms and conditions set forth herein

         are reasonable under the circumstances and that they have acted in good faith in connection

         with the negotiations of this Settlement Agreement and in moving the Bankruptcy Court

         for an Order approving the same.

                 29.     The Parties further acknowledge that they have negotiated at length and in

         good faith to reach the arrangements set forth in this Settlement Agreement. The Parties

         acknowledge that they are represented by legal counsel of their choice, are fully aware of

         the terms contained in this Settlement Agreement and have voluntarily and without

         coercion or duress of any kind entered into this Settlement Agreement and the documents

         executed in connection with this Settlement Agreement.

                 30.     In the event that the terms and conditions contained in this Settlement

         Agreement are inconsistent with the terms contained in the Chapter 12 Plan, as confirmed

         by the Bankruptcy Court, the terms of this Settlement Agreement shall prevail.

                 31.     If a court of competent jurisdiction declares any provision of the Settlement

         Agreement null or invalid, the Parties agree that such holding will not affect the validity of

         the remaining provisions, and the Parties agree to comply with their respective obligations

         under such provisions not included in the judicial determination.




                                                                                                      17
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 18 of 20



                32.     The terms and conditions contained in this Settlement Agreement shall

         remain unaltered notwithstanding: (i) the ability to confirm a plan; (ii) the dismissal or

         conversion of the Bankruptcy Case; or (iii) the approval for post-confirmation modification

         of the plan in the Bankruptcy Case.

                33.     Per this Settlement Agreement, the Parties respectfully request that the

         Court retain jurisdiction to enforce the terms and conditions of this Settlement Agreement.




                                   [SIGNATURE PAGE FOLLOWS]




                                                                                                 18
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 19 of 20




                             THE PARTIES                                THE PARTIES

           TRIANGLE CAYMAN ASSET COMPANY

                                                         _______________________________
           By        : _______________________________   JUAN JOSE PERAZA MORA

           Name : _______________________________

           Title     : _______________________________   ________________________________
                                                         GLORIA ESTHER BATISTA MOLINA




                       LEGAL REPRESENTATION                      LEGAL REPRESENTATION

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                                                                                           19
       Case:19-01896-ESL12 Doc#:148-1 Filed:04/23/20 Entered:04/23/20 11:40:00 Desc:
Exhibit 1 Settlement Agreement Between the Debtors and Triangle Cayman Asset Co Page 20 of 20




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